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EXHIBIT UU
Case 2:08-cv-01021-PSG-RC Document 9-48 Filed 02/19/08

to

Page 2 of 13 Page ID #:202

Geraldine A. Wyle (SBN 89735
Jeryll S. Cohen SBN 125392) ORIGIN AL FILED

Jefirey D. Wexler (SBN 132256)
Vivian Lee Thoreen (SBN 224162) FEB 07 LQ?
LUCE FORWARD HAMILTON & SCRIPPS LLP ES
601 South Figueroa, Suite 3900 EL

Los Angeles, California 90017 LOS A COURT
Telephone: — (213) 892-4992 SUPERIO

Facsimile: (213) 892-7731
Attorneys for Temporary Conservator

of the Person and Temporary Co-Conservator
of the Estate James P. Spears

SUPERIOR COURT OF THE STATE OF CALIFORNIA
COUNTY OF LOS ANGELES, CENTRAL DISTRICT

In re the Conservatorship of the Person and the | CASE NO. BP 108870

Estate of:
DECLARATION OF JERYLL S. COHEN
BRITNEY JEAN SPEARS, IN SUPPORT OF EX PARTE
APPLICATION FOR ORDER (1)
Temporary Conservatee. GRANTING POWER TO FIRE HOWARD

GROSSMAN; (2) REQUIRING HOWARD
GROSSMAN TO TURN OVER ALL
DOCUMENTS AND RECORDS; AND (3)
TO TURN OVER ALL ASSETS
RELATING TO BRITNEY SPEARS

Date: February 7, 2008
Time: 1:30 p.m
Department: 9

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DECLARATION OF JERYLL S. COHEN

I, Jeryll S. Cohen, declare:

I. [ am an attorney licensed to practice law in the State of California and am a senior
counsel at the law firm of Luce, Forward, Hamilton & Scripps LLP (“Luce Forward”), counsel
of record for James P. Spears (Mr. Spears”), the father of Britney Jean Spears (“Britney”) and
temporary conservator of the person and temporary co-conservator of the estate of Britney Jean
Spears. Except as otherwise stated, the statements contained herein are based on my personal
knowledge and experience. If called as a witness, I could and would testify competently to those
facts.

2, On February 5, 2008, I had a telephone conversation with Howard Grossman
about various matters relating to securing Britney’s assets pursuant to the Order Extending
Letters of Temporary Conservatorship of the Estate. During that telephone conversation, Mr.
Grossman told me that he had numerous e-mails from Osama (“Sam”) Lutfi in which Mr. Lutfi
made various demands, including demands for money. Mr. Grossman told me that he did not
comply with Mr. Lutfi’s demands. During this conversation, I requested that Mr. Grossman
provide me with copies of all of his e-mail correspondence from Mr. Lutfi.

3. On February 6, 2008, at approximately 9:01 a.m., I sent Mr. Grossman an e-mail
requesting that he provide us with copies of the e-mails to and from Mr. Lutfi. Mr. Grossman
has since refused to provide copies of any such e-mails. Attached as Exhibit A is a true and
correct copy of the e-mail I sent to Mr. Grossman.

4. During my telephone conversation with Mr. Grossman on F ebruary 5, 2008, he
told me that Mercedes-Benz of Beverly Hills had in its possession two of Britney’s cars. I
understand that my colleague at Luce F orward, Jeffrey D. Wexler, instructed Mr. Grossman to
authorize Mercedes-Benz of Beverly Hills to permit the Temporary Co-Conservators to make
arrangements to retrieve Britney’s cars.

5. On February 6, 2008, at approximately 12:23 p.m., Mr. Wexler sent Mr.
Grossman an e-mail with the Orders and Letters from the hearing on February 4, 2008, at which
Mr. Grossman was present and testified before the Court, before the courtroom was closed. I

was copied on this e-mail.
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6. At approximately 3:21 p.m. and 3:23 p.m. on February 6, 2008, respectively, |
sent two e-mails to Mr. Grossman regarding the Order Extending Temporary Letters of

Conservatorship of the Person. I told Mr. Grossman that he was not permitted to give Britney

any money, credit cards or access to money or credit cards, or to meet with her at this time at the
Beverly Hills Hotel or anywhere else. Attached as Exhibit B collectively are true and correct
copies of the e-mails.

7, I am informed and believe that sometime after 12:23 p.m. on February 6, 2008,
Mr. Grossman met with Britney and attomey Adam Streisand at the Beverly Hills Hotel, without
the knowledge or consent of the Temporary Co-Conservators. It is my understanding that Mr.
Grossman did not provide Mr. Streisand with copies of the Orders or disclose their contents to
him.

8. At approximately 8:00 p.m. on February 6, 2008, I spoke with Mr. Grossman on
the telephone. He told me that earlier that day, he had directed Mercedes-Benz of Beverly Hills
to deliver one of Britney’s cars to the Beverly Hills Hotel for her, without the knowledge and
consent of the Temporary Co-Conservators. I reminded Mr. Grossman of the contents of the
Orders and the fact that Britney’s assets were not subject to her control, but rather were subject
to the control of the Co-Conservators. Mr. Grossman told me that he had instructed Mercedes-
Benz of Beverly Hills to deliver a car to Britney because she had asked him to and he wanted to
comply with her request because he wanted to “build her confidence in him.”

9. During one of my telephone conversations with Mr. Grossman on F ebruary 6,
2008, Mr. Grossman denied that he had been present during the meeting with Britney and Mr.
Streisand at the Beverly Hills Hotel earlier that day.

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| 10. On February 7, 2008, at approximately 8:06 a.m., Mr. Grossman sent me a

bo

response to my e-mails. Attached as Exhibit C is a true and correct copy of Mr. Grossman’s
3 responding e-mail.
4 Executed on February 7, 2008 at Los Angeles, California. I declare under penalty of

5 | perjury of the laws of the State of California that the foregoing is true and correct.

. 7 =
Zo HERYLL S. COHEN

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EXHIBIT A
Case 2:08-cv-01021-PSG-RC Document 9-48 Filed 02/19/08 Page 7 of13 Page ID #:207

Cohen, Jeryll

From: Cohen, Jeryll

Sent: Wednesday, February 06, 2008 9:01 AM
To: ‘Howard Grossman'

Cc: Wexler, Jeffrey

Subject: Britney

Howard,

Jeff Wexler either has or will be making arrangements to have a messenger pick up from your office the box delivered by
Mercedes. Please also give the messenger copies of the emails from Sam as well as responses.

Thank you,
Jeryll

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Jeryll Cohen

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jcohen@iuce.com

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EXHIBIT B
Case 2:08-cv-01021-PSG-RC Document 9-48 Filed 02/19/08 Page 9of13 Page ID #:209

Thoreen, Vivian

From: Cohen, Jeryll

Sent: Wednesday, February 06, 2008 3:21 PM

To: ‘Howard Grossman

Ce: ‘Andrew Wallet’, Wyle, Geraldine: Thoreen, Vivian
Subject: Spears

Howard,

Britney may contact you. She may want you to get her money. The Order Appointing Conservator has taken away
Britney's power to contract or deal with her assets - the Co-Conservators have the power to "take all actions necessary to
secure the Conservatee's assets," including the Conservatee's liquid assets, and "the power to cancel all credit cards," to
“contract for..and perform outstanding contracts," etc.

The Co-Conservators have not authorized you to give Britney any money, credit cards, or access to money or credit cards,
or to meet with her without the presence of one of the Co-Conservators.

Best Regards,

Jeryil

FROIOIOI IGE OH IH HOR tO tok

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jcohen@luce.com

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Thoreen, Vivian

From: Cohen, Jeryll

Sent: Wednesday, February 06, 2008 3:23 PM
To: ‘Howard Grossman'

Ce: Wyle, Geraldine; Thoreen, Vivian
Subject: FW: Spears

Howard,

Just to make absolutely clear - you are not authorized to give Britney any money, credit cards or access to money or credit
cards, or to meet with her at this time at the Beverly Hills Hotel or anywhere else for that matter.

Jeryil

From: Cohen, Jeryll

Sent: Wednesday, February 06, 2008 3:21 PM

To: "Howard Grossman’

Ce: ‘Andrew Wailet'; Wyle, Geraldine; Thoreen, Vivian
Subject: Spears

Howard,

Britney may contact you. She may want you to get her money. The Order Appointing Conservator has taken away
Britney's power to contract or deal with her assets - the Co-Conservators have the power to "take all actions necessary to
secure the Conservatee's assets," including the Conservatee's liquid assets, and "the power to cancel all credit cards," to
“contract for..and perform outstanding contracts," etc.

The Co-Conservators have not authorized you to give Britney any money, credit cards, or access to money or credit cards,
or to meet with her without the presence of one of the Co-Conservators.

Best Regards,

Jeryll

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EXHIBIT C
Case 2:08-cv-01021-PSG-RC Document 9-48 Filed 02/19/08 Page 12 o0f13 Page ID #:212

Thoreen, Vivian

From: Howard Grossman [Howard@glwg.com]
Sent: Thursday, February 07, 2008 8:06 AM
To: Cohen, Jeryll

Ce: Wyle, Geraldine; Thoreen, Vivian
Subject: RE: Spears

This and the prior message were received after Britney contactred me. However, although
she did ask me for a credit card and I did not oblige. Further, I did not allow her to use
my credit card. She did not ask me for money so that was not an issue.

From: Cohen, Jeryll (mailto: JCohen@LUCE. com]
Sent: Wed 2/6/2008 3:23 PM

To: Howard Grossman

Cc: Wyle, Geraldine; Thoreen, Vivian
Subject: FW: Spears

Howard,

Just to make absolutely clear - you are not authorized to give Britney any money, credit
Cards or access to money or credit cards, or to meet with her at this time at the Beverly
Hills Hotel or anywhere else for that matter.

Jeryll

Prom: Cohen, Jeryll

Sent: Wednesday, February 06, 2008 3:21 PM

To: ‘Howard Grossman '

Ce: ‘Andrew Wallet'; Wyle, Geraldine; Thoreen, Vivian
Subject: Spears

Howard,

Britney may contact you. She may want you to get her money. The Order
Appointing Conservator has taken away Britney's power to contract or
deal with her assets - the Co-Conservators have the power to "take all
actions necessary to secure the Conservatee's assets," including the
Conservatee's liquid assets, and “the power to cancel all credit
cards," to "contract for..and perform outstanding contracts," etc.

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> The Co-Conservators have not authorized you to give Britney any money,
> credit cards, or access to money or credit cards, or to meet with her
> without the presence of one of the Co-Conservators.

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Best Regards,

Jeryll

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